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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION


UNITED STATES OF AMERICA                        §
                                                §
V.                                              §                      5:00-CR-9(5)
                                                §
JODY PAXTON                                     §


                         REPORT AND RECOMMENDATION OF
                       THE UNITED STATES MAGISTRATE JUDGE


       On October 19, 2006, the Court held a hearing on the Government’s Petition to Revoke

Supervised Release. The Government was represented by Assistant United States Attorney Barry

Bryant. Defendant was represented by John Stroud.

       Jody Paxton was sentenced on March 2, 2001, before The Honorable David Folsom of the

Eastern District of Texas after pleading guilty to the offense of distribution of cocaine base, a Class

B felony. This offense carried a statutory maximum imprisonment term of 40 years. The guideline

imprisonment range, based on a total offense level of 23 and a criminal history category of II, was

60 to 63 months. Jody Paxton was subsequently sentenced to 60 months imprisonment followed by

4 years of supervised release subject to the standard conditions of release, plus special conditions

to include drug aftercare, denial of federal benefits for one year, and a $100 special assessment. On

December 3, 2003, Jody Paxton completed his period of imprisonment and began service of the

supervision term. On December 22, 2004, the Court modified the terms of supervision to include

alcohol abstinence.

       On June 5, 2006, the instant petition to revoke was filed. In its petition, the Government

alleges Defendant violated the following conditions:
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       1) Defendant shall not commit another federal, state, or local crime. Specifically, the

Government alleges as follows. On or about February 24, 2005, in Bowie County, Texas, Mr.

Paxton assaulted Jacquline Evett Larry by striking her deliberately in the head and other parts of her

body with a closed fist and the blunt end of a knife. Mr. Paxton was arrested by the Texarkana

Police Department on this date for said offense and was subsequently released on a personal

recognizance bond. On April 28, 2006, Mr. Paxton entered a plea of guilty and was sentenced to 180

days in jail under Bowie County Court at Law Cause No. 05M0534-CCL. Mr. Paxton also violated

this condition on March 28, 2006, by being arrested for resisting arrest by the Texarkana, Texas,

Police Department. On April 28, 2006, Mr. Paxton entered a plea of guilty and was sentenced to 30

days in jail under Bowie County Court at Law Cause No. 06M0787-CCL. Also on March 28, 2006,

Mr. Paxton violated this condition by being arrested for failure to identify himself to law

enforcement officers by the Texarkana, Texas, Police Department. On April 28, 2006, Mr. Paxton

entered a plea of guilty and was sentenced to 30 days in jail under Bowie County Court at Law Cause

No. 06M0788-CCL.

       2) Defendant shall not commit another federal, state, or local crime. Defendant shall refrain

from excessive use of alcohol. Specifically, the Government alleges as follows. On November 20,

2004, Mr. Paxton was arrested by the Texarkana Police Department for driving while intoxicated.

On December 13, 2004, Mr. Paxton pled guilty to said offense and was sentenced to 18 months

probation in the County Court of Law in Bowie County, Texas, under cause no. 04M-2220-CCL.

       3) Defendant shall truthfully answer all inquiries by the probation officer and follow the

instructions of the probation officer. Specifically, the Government alleges as follows. On December

3, 2004, Mr. Paxton was instructed to abstain from the use of alcohol by the U.S. Probation Officer.


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Additionally, Mr. Paxton signed a Probation Form 49 agreeing to have included as part of his

conditions of supervision that he abstain from the use of alcohol. On December 9, 2004, an

unscheduled home visit was conducted at Mr. Paxton’s residence. It was apparent that Mr. Paxton

was intoxicated by the observation of his slurred speech and his inability to verbalize a rational

thought. Upon inquiring into his state, Mr. Paxton admitted to drinking three to four 12 ounce beers

on this date.

        4) Defendant shall abstain from the use of alcohol. Specifically, the Government alleges as

follows. On February 4, 2005, Mr. Paxton reported to his substance abuse counseling session and

appeared to be intoxicated. The counselor took a urine specimen from Mr. Paxton and submitted

it for testing. Mr. Paxton tested positive for the use of alcohol on said date.

        The Court scheduled a revocation hearing October 19, 2006. At the hearing on the

Government’s petition and after consenting to the undersigned’s taking the plea, Defendant pled true

to allegations as set forth above.1 Based upon Defendant’s plea of true to the allegations and with

no objection by the Defendant or the Government, the Court found Defendant violated his conditions

of supervised release as alleged in the U.S. Probation Office’s violation petition. The Court further

recommended that the term of supervised release be revoked.

        The Court thereafter recommended Defendant be committed to the custody of the Bureau of

Prisons to be imprisoned for a term of fifteen (15) months to run consecutive to the sentences

received in Bowie County Court at Law Cause Nos. 04M2220-CCL and 05M0543-CCL, with no

supervised release to follow the term of imprisonment. The Court further recommended that the



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        Defendant admitted the assault as alleged in the first allegation, but he denied that a
knife was involved in said assault.

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    Court request the Bureau of Prisons designate FCI Texarkana for service of sentence; that the

    defendant obtain his GED or vocational training while incarcerated; and that the defendant be

    provided drug and alcohol abuse counseling while incarcerated. Based on the foregoing, it is

           RECOMMENDED that Defendant’s plea of true to the allegations as set forth in the

    Government’s petition be ACCEPTED. Further, it is

           RECOMMENDED that Defendant’s supervised release be REVOKED. Further, it is

           RECOMMENDED that Defendant be committed to the custody of the Bureau of Prisons

    to be imprisoned for a term of fifteen (15) months to run consecutive to the sentences received in
.
    Bowie County Court at Law Cause Nos. 04M2220-CCL and 05M0543-CCL, with no supervised

    release to follow the term of imprisonment. It is further

           RECOMMENDED that the Court request the Bureau of Prisons designate FCI Texarkana

    for service of sentence; that the defendant obtain his GED or vocational training while incarcerated;

    and that the defendant be provided drug and alcohol abuse counseling while incarcerated.

           The parties were informed of the right to file objections to the recommendations as set forth

    above. Both parties waived their objections.

           SIGNED this 20th day of October, 2006.




                                                         ____________________________________
                                                         CAROLINE M. CRAVEN
                                                         UNITED STATES MAGISTRATE JUDGE




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